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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

TAMPA DIVISION 37

DEBRA MORITZ,

Plaintiff, CASENO. FASLY ¥2 [24 Tew
vs. JURY TRIAL DEMANDED
ADT, LLC,

Defendant.

/
COMPLAINT

Plaintiff, DEBRA MORITZ (“Plaintiff”), allege the following Complaint against Defendant,
ADT, LLC (“Defendant”):

1. This is an action for damages for violations of the Telephone Consumer Protection
Act, 47 U.S.C. §227 et seg. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat.

§§ 559.55 et seg. “FCCPA”).

PARTIES
2. Plaintiff is a “consumer” as that term is defined by Fla. Stat. § 559.55(2).
a Defendant is a company with its principal place of business in Florida. Defendant

has a registered agent located in the state of Florida, and the actions forming the basis of this
Complaint took place at Plaintiffs home location in this district.

4, Defendant is a “person” subject to regulation under Fla. Stat. § 559.72.

a, Plaintiff is the subscriber, regular user and carrier of the cellular telephone number,

(813-XXX-5832), and was the called party and recipient of Defendant’s autodialer calls.

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JURISDICTION AND VENUE
6. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 for the
TCPA claim, and should exercise supplemental jurisdiction over the state FCCPA claims pursuant
to 28 U.S.C. § 1367(a), as such claims are so closely related so as to form part of the same case or
controversy.
7. Venue is proper in this District pursuant to 28 U.S.C. § 1391(6)(2), in that the acts
giving rise to this action occurred in this District.

FACTUAL ALLEGATIONS

 

8. Plaintiff allegedly incurred a consumer debt with Defendant (hereinafter “Subject
Debt’).

9. The Subject Debt is considered a “consumer debt” as defined by the FCCPA, as it
constitutes an obligation for the payment of money arising out of a transaction in which the money
and/or services which was the subject of the transaction was primarily for Plaintiffs’ personal,
family, or household purposes.

10. In 2017, Plaintiff was a victim of identity theft and her bank accounts were
compromised. As a result, her automatic payment stopped processing.

11. As aresult, Defendant turned off Plaintiffs services.

12. In or around April, 2017, as part of its efforts to collect the Subject Debt, Defendant
began a campaign of calling Plaintiffs cellular phone and home telephone (813-XXX-0174).

13. During multiple occasions from April, 2017 to the present, Defendant autodialed
Plaintiff's cell phone in an attempt to collect the subject debt. Plaintiff informed Defendant that she

would not be making payment because Defendant turned off her services. She then requested
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Defendant to stop calling her cell phone. Defendant stated that the calls would continue as long as
she owed money.

14. This occurred on her home telephone, as well.

15. Despite Plaintiff's requests, Defendant continued to autodial her cell phone and
home phone in an attempt to collect the subject debt.

16. | Each of Defendant’s calls placed to Plaintiff’s cell phone in which she answered had
a time-gap before one of Defendant’s representatives would respond. This suggests Defendant used
an autodialer system to place calls to Plaintiff's cell phone.

17. Further, Defendant has a corporate policy to use an Automatic Telephone Dialing
System (as defined by the TCPA) and has numerous other federal lawsuits pending against them
alleging similar violations and facts as stated in this complaint.

18. Despite Plaintiff informing Defendant for her reason of non-payment towards the
Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject Debt, the
Defendant continued its efforts to try and collect the Subject Debt from Plaintiff. As a result,
Defendant’s subsequent attempts to persuade Plaintiff were made with the intent to simply exhaust
Plaintiff's will and harass Plaintiff.

19. | The above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass Plaintiff.

20. Defendant’s conduct has caused Plaintiff to suffer injuries in fact through significant
anxiety, emotional distress, frustration, and anger.

21. Defendant’s autodialer calls to Plaintiff's cell phone caused her headaches.

22. By effectuating these unlawful phone calls, Defendant has caused Plaintiff the very

harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."
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23.  Defendant’s aggravating and annoying phone calls trespassed upon and interfered
with Plaintiff's rights and interests in her cellular telephone and cellular telephone line, by intruding
upon Plaintiff's seclusion.

24.  Defendant’s phone calls harmed Plaintiff by wasting her time.

25. Moreover, "wireless customers [like Plaintiff] are charged for incoming calls
whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA of
1991, 23 FCC Red 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the
battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular
telephone service provider.

COUNT I

VIOLATIONS OF THE TELEPHONE COMSUMER PROTECTION ACT
47 US.C. § 227 et seq.

26. Plaintiff incorporates by reference paragraphs 1 through 25 of this Complaint as
though fully stated herein.

27. It is a violation of the TCPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerecorded voice ... to any telephone number assigned
toa... cellular telephone service ...” 47 U.S.C. § 227(b)(1)(A)(iii).

28. The Defendant placed non-emergency telephone calls to Plaintiffs cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without
Plaintiff's consent in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

29. Plaintiff revoked any prior express consent Defendant had to call Plaintiff's cellular

telephone number. As such, the Defendant’s calls were willful or knowing. See 47 U.S.C. §

312(£)(1).
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30. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the
TCPA, Plaintiff was harmed and is entitled to a minimum of $500 in damages for each violation.

31. Because the Defendant knew that Plaintiff had revoked prior express consent to
receive their autodialed and prerecorded voice calls to her cellular telephone — and /or willfully used
an automatic telephone dialing system and/or prerecorded voice message to call Plaintiffs cellular
telephone without prior express consent — Plaintiff requests the Court to treble the amount of
statutory damages available to Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

WHEREFORE, Plaintiff demands judgment against the Defendant for damages, costs, and
such further relief as this Court deems just and proper.
COUNT II

VIOLATIONS OF THE FLORIDA CONSUMER COLLECTIONS PRACTICES ACT
FLORIDA STATUTES § 559.55 ef seq.

32. Plaintiff incorporates by reference paragraphs 1 through 25 of this Complaint as
though fully stated herein.
33. The foregoing acts and omissions of Defendant constitute a violation of the FCCPA:
a. Fla. Stat. 559.72(7): Willfully communicate with the debtor or any
member of her or his family with such frequency as can reasonably be
expected to harass the debtor or her or his family, or willfully engage in
other conduct which can reasonably be expected to abuse or harass the
debtor or any member of her or his family.
34. As arresult of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintiff is entitled to damages in an amount up to $1,000.00 for violation of the FCCPA, actual
damages, plus reasonable attorneys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for actual and statutory damages, attorneys’

fees, costs, and such further relief as this Court deems just and proper.
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DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury on all issues so triable.

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Jon PASubbeld, Esq.

Fla. Bar No. 105869
Jon@pberkmyer.com
Berkowitz & Myer

4900 Central Avenue

St. Petersburg, Florida 33707
(727) 344-0123 (office)
Attorneys for Plaintiff
